Case 2:02-cr-20440-SHL Document 102 Filed 04/18/05 Page 1 of 2 Page|D 111

IN THE UNITED sTATEs DISTRICT COU§T V/ »
FOR THE wESTERN DISTRICT oF TENN , .
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WESTERN DIVISION
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UNITED STATES 0F AMERICA, W.r) OF T`N MEM H
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Plaimiff,
~k
v. CriminalNo. 02-20440-1)
~J:
YERVIN KEITH BARNETT, *
Defendant. *

 

ORDER GRANTING MOTION TO CONTINUE RE-SENTENCING HEARING

 

IT IS HEREBY ORDERED that the Government's Motion to Continue Re-Sentencing
Hearing is hereby GRANTED, and is now reset for 5\“\@ 7 3005 ask \ BDPM ,With time

excluded under the Speedy Trial Act.

IT IS SO ORDERED this the /~5' day of April, 2005.

 

Date:

   

Approved:

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with Flule 55 and!or 32(\0) FHCYP un ______d,_i__ _"__1 if

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
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April 19, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

